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FORM nhgnrlp (Rev. 06/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Northern District of Florida
                                           Tallahassee Division

In Re: Roger L. Unger                                             Bankruptcy Case No.: 18−40443−KKS
       dba KAMONA, Inc. d/b/a Jasmine Cafe, dba Southern
       Style Group, Inc. d/b/a Southern Public House
       SSN/ITIN: xxx−xx−4130
        Debtor
                                                                  Chapter: 7
                                                                  Judge: Karen K. Specie


                                  Amended Notice of Non Evidentiary Hearing

   PLEASE TAKE NOTICE that a hearing to consider and act upon the following will be held at 110 E. Park
Avenue, 2nd Floor Courtroom, Tallahassee, FL 32301, on July 18, 2019, at 10:30 AM, Eastern Time.

        64 − Motion to Sell Property Free and Clear of Liens under Section 363(f) [fee amount $181] filed by
        Sherry Chancellor on behalf of Sherry Chancellor. (Chancellor, Sherry)

Dated: June 17, 2019                                      FOR THE COURT
                                                          Traci E. Abrams, Clerk of Court
                                                          110 E. Park Ave., Ste. 100
                                                          Tallahassee, FL 32301


REASON AMENDED: TO CORRECT DATE OF HEARING.

SERVICE: Sherry F. Chancellor shall serve this document pursuant to the applicable Rules and file a certificate of
service within three (3) days.
